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BEFORE THE UNITED STATES JUDICIAL PANEL ON MULTIDISTRICT
LITIGATION
MDL- -In re BCBS Litigation

SCHEDULE OF ACTIONS

NORTHERN DISTRICT OF ALABAMA

Case Captions Court Civil Action No. Judge

N.D. Ala. 2:12-cv-01133-RDP R. David Proctor
Plaintiffs:
Fred R. Richards and
Richard and Sons
Construction Company,
Inc.

Defendants:
Blue Cross and Blue Shield of Alabama
Blue Cross and Blue Shield Association

Plaintiffs: N.D. Ala. 2:12-cv-01910-RDP_ R. David Proctor
One Stop Environmental,

LLC. And Nicholas A.

Layman

Defendants:
Blue Cross and Blue Shield of Alabama
Blue Cross and Blue Shield Association

Plaintiffs: N.D. Ala. 2:12-cy-02185 R. David Proctor
Chris Bajalieh and

Consumer Financial

Foundation of

America, Inc.

Defendants:
Blue Cross and Blue Shield of Alabama
Blue Cross and Blue Shield Association

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Plaintiffs:
American Electric Motor N.D. Ala. 2:12-cv-02169
Services, Inc.

Defendants:
Blue Cross and Blue Shield of Alabama
Blue Cross and Blue Shield Association

R. David Proctor

Plaintiffs: N.D. Ala. 2:12-cv-02525
GC Advertising, LLC
and CB Roofing, LLC

Defendants:
Blue Cross and Blue Shield of Alabama
Blue Cross and Blue Shield Association

R. David Proctor

Plaintiffs:
Jerry L. Conway, D.C. N.D. Ala. 2:12-cv-02532

Defendants:

Blue Cross and Blue Shield of Alabama
Blue Cross and Blue Shield Association
Anthem, Inc.

Premara Blue Cross

Of Alaska;

Arkansas Blue Cross and
Blue Shield;

Anthem Blue Cross and
Blue Shield of Connecticut;
Highmark Blue Cross and
Blue Shield of Delaware;
Blue Cross and Blue

Shield of Florida;

Blue Cross and Blue

Shield of Georgia;

Hawaii Medical

Service Assoc. d/b/a

Blue Cross and Blue

Shield of Hawaii;

Health Care Service Corp.
d/b/a Blue Cross and

Blue Shield of Illinois;
Anthem Blue Cross and
Blue Shield of Indiana;

R. David Proctor
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Wellmark, Inc. d/b/a

Blue Cross and Blue

Shield of Iowa;

Blue Cross and Blue

Shield of Kansas;

Blue Cross and Blue

Shield of Louisiana;

Anthem Health Plans

Of Maine;

CareFirst Blue Cross

and Blue Shield of
Maryland;

Blue Cross and Blue

Shield of Massachusetts;
Blue Cross and Blue

Shield of Michigan;

Blue Cross and Blue

Shield of Minnesota;

Blue Cross and Blue

Shield of Mississippi;
Anthem Blue Cross

and Shield of Missouri;

Blue Cross and Blue

Shield of Kansas City;

Blue Cross and Blue

Shield of Nebraska;

Anthem Blue Cross and

Blue Shield of New Hampshire;
Horizon Blue Cross and Blue
Shield of New Jersey;

Blue Cross and Blue Shield
of New Mexico;

Excellus Blue Cross

Blue Shield of New York;
Blue Cross and Blue Shield
of North Carolina;

Blue Cross and Blue Shield
Of Oklahoma;

Blue Cross of Northeastern
Pennsylvania- Wilkes-Barre,
Highmark, Inc., Independence
Blue Cross, Triple S-Salud, Inc.;
Blue Cross and Blue Shield
of Rhode Island;

Blue Cross and Blue Shield of
South Carolina;

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Wellmark of South Dakota, Inc.,
d/b/a Wellmark Blue Cross and
Blue Shield of South Dakota;
Blue Cross and Blue Shield of
Tennessee;

Blue Cross and Blue Shield of
Texas;

Blue Cross and Blue Shield of
Vermont;

Anthem Blue Cross and Blue
Shield of Virginia, Inc.;
Highmark Blue Cross,

Blue Shield of West

Virginia;

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Plaintiffs:

Thomas A. Carder, Jr.
and Industrial Sales and
Service, LLC

N.D. Ala.

Defendants:
Blue Cross and Blue Shield of Alabama
Blue Cross and Blue Shield Association

2:12-cv-02537

R. David Proctor

WESTERN DISTRICT OF NORTH CAROLINA

Plaintiffs: W.D.N.C,
Kelli R. Cerven

Keith O. Cerven

Teresa M. Cerven

C. F. W. Vending, LLC

SHGI Corporation

Defendants:
Blue Cross and Blue
Shield of North Carolina

Blue Cross and Blue
Shield Association

5:12-cv-17

Richard Voorhees

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WESTERN DISTRICT OF TENNESSEE

Plaintiff: W.D. TN 2:12-cv-02359-JTF-CGC John T. Fowlkes
Mary Morrissey

Defendant:
Blue Cross and Blue
Shield of Tennessee, Inc.
